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                                              12/12/2018
                                               9:30 A.M.
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                                        301 E. Ocean Blvd., Suite 1720
                                                            Long Beach, CA 90802

A true and correct copy of the document entitled (specify): STIPULATION RE: CHAPTER 11 PLAN TREATMENT will be
served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
manner indicated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
10/30/2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:


U.S. Trustee                                                                                          Debtor's Attorney
ustpregion16.wh.ecf@usdoj.gov                                                                         M Jonathan Hayes
                                                                                                      jhayes@rhmfirm.com

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) 10/30/2018, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

U.S. Bankruptcy Court Judge                        Debtor
Honorable Maureen A. Tighe                         Samuel James Esworthy
United States Bankruptcy Court                     8526 Kester Avenue
Central District of California                     Panorama City, CA 91402
21041 Burbank Boulevard, Suite 324
Woodland Hills, CA 91367

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) __________, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page


I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.



10/30/2018                       Irene Saucedo                                              /s/Irene Saucedo
Date                             Printed Name                                               Signature

PrfSrv_CAC_X14                                                                                                                              6509-N-0629
            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2012                                                                                                 F 9013-3.1.PROOF.SERVICE
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                                                 CONTINUATION SHEET
                                        (Continued from Proof of Service Document)

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Creditor                                             Creditor (via Certified mail)                       Creditor
Bank of America                                      Bank of America, N.A.                               Caine & Weiner
c/o Managing or Servicing Agent                      Brian T. Moynihan, CEO                              c/o Managing or Servicing Agent
P.O. Box 515503                                      100 North Tryon St                                  PO Box 5010
Los Angeles, CA 90051                                Charlotte, NC 28202                                 Woodland Hills, CA 91365

Creditor (via Certified mail)                        Creditor (via Certified mail)                       Creditor
Caine & Weiner Company, Inc                          Chase                                               Dell Financial Services
Greg A Cohen                                         Attn: Correspondence Dept                           c/o Managing or Servicing Agent
21210 Erwin St                                       c/o Managing or Servicing Agent                     PO Box 4125
Woodland Hills, VA 91367                             PO Box 15298                                        Carol Stream, IL 60197
                                                     Wilmington, DE 19850

Creditor (via Certified mail)                        Creditor                                            Creditor (via Certified mail)
JP Morgan Chase Bank                                 Discover Financial                                  Discover Bank
James Dimon, CEO                                     c/o Managing or Servicing Agent                     David W. Nelms, CEO
1111 Polaris Parkway                                 PO Box 3025                                         502 E. Market Street
Columbus, OH 43240                                   New Albany, OH 43054                                Greenwood, DE 19950

Creditor                                             Creditor                                            Creditor (via Certified mail)
Internal Revenue Service                             Select Portfolio Servicing, Inc                     Select Portfolio Servicing, Inc.
c/o Managing or Servicing Agent                      c/o Managing or Servicing Agent                     Matt Hollingsworth, CEO
PO Box 7346                                          PO Box 65250                                        P.O. Box 65250
Philadelphia, PA 19101-7346                          Salt Late City, UT 84165                            Salt Lake City, UT 84165-0250

Creditor
Aldridge Pite, LLP
Todd S. Garan
4375 Jutland Drive, Suite 200
P.O. Box 17933
San Diego, CA 92177-0933




PrfSrv_CAC_X14
             7879-N-8333
    This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

June 2017                                                                                                            F 4001-1.RFS.RP.MOTION
